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                             EXHIBIT B
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                                                                           Filed: 11/5/2020 2:41 PM
                                                                           Lynne Finley
                                                                           District Clerk
                                                                           Collin County, Texas
                                                                           By Claudia Gomez Deputy
                                                                           Envelope ID: 47851143
                             CAUSE NO. 471-05870-2020

FAITHMUOKA                                    §               IN THE DISTRICT COURT OF
                                              §
Plaintiff,                                    §
                                              §               COLLIN COUNTY, TEXAS
v.                                            §
                                              §
OXFORD GRAND MCKINNEY, LLC.                   §               _ _TH JUDICIAL DISTRICT
& OXFORD SENIOR LIVING                        §
                                              §
Defendant.                                    §

                             PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff, Faith Muoka ("Plaintiff' or "Muoka") brings this action against Defendants

Oxford Grand McKinney, LLC. ("OGM") and Oxford Senior Living ("OSL"), for violating the

laws of the State of Texas and The United States of America, and alleges the following:

                                     I.      INTRODUCTION

        1.     This action seeks equitable relief, compensatory and punitive damages, emotional

damages, front and back pay, attorney's fees and costs, expert witness fees, costs of court, pre-

judgment and post-judgment interest for violations of Texas Labor Code, Chapter 21 for

discrimination and harassment based on disability as well as Title VII of the Civil Rights Act of

1964, as amended by the Civil Rights Act of 1991, paragraph 703(a), and by the American with

Disabilities Act justifying an award inter alia, of compensatory and punitive damages against

WTW.

        2.     Plaintiff demands a jury on all issues triable to a jury.

                       II.      PARTIES, JURISDICTION, AND VENUE

        3.     Faith Muoka (''Muoka") is an adult citizen of the Texas, residing in Anna, Texas.
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       4.      Defendant, Oxford Grand McKinney, LLC ("OGM") is a limited liability

company headquartered in McKinney, TX and employing individuals and doing business in

Collin County, Texas at 2851 Orchid Dr., McKinney, TX 75072. OGM can be served by and

through its registered agent, KS Oxford Management Group, LLC, 16800 Westgrove Dr., Suite

100, Addison, TX 75001.

       5.      Defendant, Oxford Senior Living ("OSL") is a corporation headquartered in

Witchita, Kansas but doing business in Texas and employing individuals in Texas, particularly

Collin County, Texas. OSL can be served at its corporate headquarters located at 125 N. Market

St., Suite 1230, Wichita. KS 67202-1712.

       6.      The Court has jurisdiction to hear the merits of Plaintiff's claims under Chapter

21 of the Texas Labor Code as well as under the federal Americans with Disabilities Act as well

as Title VII as amended by the Pregnancy Discrimination Act.

       7.      Venue is proper as to Plaintiff's claims because the unlawful employment

practices described herein were committed in the State of Texas. Furthermore, venue is proper

as to Plaintiffs claims as the events giving rise to Plaintiffs claims occurred substantially in

Collin County, Texas.


       8.      At all times relevant to this matter, Defendants employed more than fifteen (15)

employees.

       9.      The amount in controversy is more than $200,000.00 but less than $1,000,000.00.


                              III.    CONDITIONS PRECEDENT

       10.     All conditions precedent to filing this cause of action have been met.

       11.     Plaintiff submitted a charge to the Texas Workforce Commission Civil Rights

Division. On or about September 15, 2020, Plaintiff received a right to sue letter from the Texas

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Workforce Commission. Plaintiff has filed this lawsuit within the requisite sixty (60) days from

the date of the right to sue letter.

                                            IV.     FACTS

        12.     At all times relevant to this case, Plaintiff was an employee of Defendants.

        13.     At all times relevant to this case, Defendants were employers of Plaintiff as

defmed in the Texas Labor Code, American with Disabilities Act, and Title VII as amended by

the Pregnancy Discrimination Act.

        14.     On or about November 2017, Ms. Faith Muoka ("Muoka") was hired by

Defendants to serve as an LVN Charge Nurse working approximately thirty-two (32) hours per

week.

        15.     During her employment, Ms. Muoka was an excellent employee and was never

written up, never put on performance improvement plan and never otherwise disciplined or told

she was inadequate at her job in any manner.

        16.     On or about February 2018, Ms. Muoka learned that she was pregnant.

        17.     On or about August 2018, Ms. Muoka informed her employer that she was

pregnant.

        18.     On or about September 9, 2018, Defendants terminated Ms. Muoka due to her

pregnancy but was told that they no longer needed nurses.

        19.     After informing her employer, namely Christine Turner, the Director of Nursing

about her pregnancy, she was asked about Maternity Leave several times.

        20.     In response to Muoka's report of pregnancy, Defendants began avoiding and

ostracizing her on the job as well as excluding her from receiving and taking report at the start




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and end of each shift. Ms. Muoka was also subjected to several comments about her pregnancy

which were unwelcome by her.

          21.   Ms. Muoka was terminated from her job due to her pregnancy and need for

temporary time off around the time of the birth of her child.

          22.   Plaintiff suffered significant damages as a result of Defendant's termination in

violation of the ADA, TCHRA and Title VII as amended by the Pregnancy Discrimination Act.

                                       V.   CAUSES OF ACTION


                         COUNT ONE: DISABILITY DISCRIMINATION

          23.   Plaintiff re-asserts and re-alleges everything contained in the preceding

paragraphs as if full stated herein.


          24.   At all times relevant to this case, Plaintiff was a qualified individual with a

disability as that term is defined under the Chapter 21 of the Texas Labor Code and the

American with Disabilities Act and was capable of performing the essential functions of his

employment with Defendant with accommodation.

          25.   Plaintiff was also regarded as being disabled under the ADA by Defendants.

          26.   Defendants were aware of Plaintiff's disabilities and regarded Plaintiff as having

disabling conditions.

          27.   Defendants failed to engage in the interactive process with Plaintiff and instead

simply treated her differently based on her disability and eventually terminated her due to

Plaintiffs disability.

          28.   Defendants then terminated Plaintiff claiming that they were no longer needing

nurses.



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            29.   Plaintiff seeks actual, compensatory, punitive damages as well as attorney's fees

and court costs along with pre-judgment and post-judgment interest.

        COUNT TWO: SEX DISCRIMINATION/PREGNANCY DISCRIMINATION

            30.   Each and every allegation contained in the foregoing paragraphs are re-alleged as

if fully re-written herein, and incorporated by reference.

            31.   Title VII of the Civil Rights Act of 1964 ("Title VD") prohibits discrimination

against an employee because of pregnancy which is a form of sex discrimination.

            32.   Defendants discriminated against Plaintiff because of her pregnancy and sex by,

inter alia, ostracizing and ignoring Plaintiff on the job, refusing to allow her to participate in

report before and after each shift, making comments about her pregnancy, continuously asking

about her pregnancy leave on the job, and ultimately terminating her.

            33.   As a direct and proximate result of Defendants' conduct, Plaintiff has suffered

special damages in the form of lost earnings, benefits, and/or out-of-pocket expenses in an

amount according to proof at the time of trial. As a further direct and proximate result of

Defenants' conduct, Plaintiff will suffer additional special damages in the form of lost future

earnings, benefits, and/or other prospective damages in an amount according to proof at the time

of trial.

            34.   In engaging m the conduct alleged herein, Defendants acted oppressively,

maliciously, fraudulently, and/or outrageously toward Plaintiff, with conscious disregard for her

known rights and with the intention of cause, and /or willfully disregarding the probability of

cause, unjust and cruel hardship to Plaintiff. In so acting, Defendants intended to and did vex,

injure and annoy Plaintiff.      Therefore, an assessment of punitive damages should be made




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against Defendants in an amount sufficient to punish them and to prevent them from willfully

engaging in future unlawful conduct.

       35.      Finally, Plaintiff is entitled to costs and reasonably attorneys' fees pursuant to 42

U.S.C. § 2000e-5(k).

                                           VI.     DAMAGES

       36.      Each and every allegation contained in the foregoing paragraphs are re-alleged as

if fully re-written herein, and incorporated by reference.

       37.      Defendants' violations of Chapter 21 of the Texas Labor Code, the American with

Disabilities Act and Title VII as amended by the Pregnancy Discrimination Act gives rise to the

following damages: back pay, reinstatement, or if reinstatement is deemed not feasible,

compensation for lost future pay or front pay; benefits in the past and the future, liquidated

damages; costs; expert witness fees; attorneys' fees; mental anguish; emotional distress in the

past and future; compensatory damages; and pre- and post-judgment interest as allowed by law.

       38.      Additionally, since Defendants' actions were committed maliciously, willfully,

and/or with reckless indifference to Plaintiff's federally protected rights, Plaintiff is entitled to

recover punitive, liquidated, and/or exemplary damages in an amount sufficient to deter

Defendants and others similarly situated from this conduct in the future.

                                        VII.     JURY DEMAND

       39.      Plaintiffs respectfully request a trial by jury.

                                  VID. PRAYER FOR RELIEF

       40.      WHEREFORE, Plaintiff respectfully requests judgment be entered in his favor

awarding him:




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        a. Declaration that Defendants violated Plaintiff's rights under Chapter 21 of the

             Texas Labor Code and/or the American with Disabilities Act;

        b. Actual and compensatory damages for the period of time provided by law,

             including appropriate back pay, front pay and reimbursement (past and future) for

             lost pension, insurance and all other benefits;

        c. Reinstatement, or front pay, including benefits, in lieu of reinstatement;

        d. Compensatory damages as allowed by law

        e. Punitive damages as allowed by law;

        f.   Liquidated damages;

        g. Reasonable attorneys' fees, costs and expenses of this action

        h. Expert witness fees incurred by Plaintiff in the preparation and prosecution of this

             action;

        1.   Emotional distress and mental anguish;

        J.   Pre-judgment and post-judgment interest as allowed by law;

        k. Costs of court and other costs of prosecuting Plaintiffs claim; and

        1.   Such other and further relief as may be allowed by law.


DATED: November 5, 2020                     RESPECTFULLY SUBMITTED,

                                            THE BHATTI LAW FIRM, PLLC

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